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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                           Civil No. 0:24-sc-02944-KMM-JFD

 United States of America,

                       Plaintiff,                              FILED UNDER SEAL

        v.
                                                                 TEMPORARY
Evergreen Recovery Inc.,                                      RESTRAINING ORDER
Evergreen Mental Health Services Inc.,
Ethos Recovery Clinic Inc.,
Second Chances Recovery Housing Inc.,
Second Chances Sober Living, Inc.,
David Backus,
Shawn Grygo, and
Shantel Magadanz,

                       Defendants.


       Pursuant to 18 U.S.C. § 1345 and Federal Rule of Civil Procedure 65, Plaintiff

United States of America filed a Complaint for Permanent Injunction and Other Equitable

Relief and moved ex parte for a Temporary Restraining Order.

                                    FINDINGS OF FACT

       The Court has considered the United States’ Complaint for Permanent Injunction

and Other Equitable Relief; the Motion for an Ex Parte Temporary Restraining Order and

Other Equitable Relief; the Memorandum of Law filed in support thereof; the Affidavit of

FBI Special Agent Kurt Beulke; and all other papers filed herein, and it appears to the

satisfaction of the Court that:

       (1)    The Court has jurisdiction over the subject matter of this case, and there is

good cause to believe that the Court has jurisdiction over the parties;
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       (2)    Venue lies properly with the Court;

       (3)    The Court makes a preliminary finding based on the record before it that is

more likely than not that the Defendants have conspired to commit offenses against the

United States by engaging in an illegal and fraudulent scheme to bill Medicaid for

substance abuse treatment services not provided in violation of 18 U.S.C. § 1347;

       (4)    The Court also finds, based on the ex parte record before it, that the

government has met the preponderance of the evidence threshold to show that Defendants

have conspired to commit offenses against the United States by engaging in an illegal and

fraudulent kickback scheme in violation of 42 U.S.C. § 1320a-7b;

       (5)    There is substantial reason to believe that immediate and irreparable harm

will result from the dissipation of Defendants’ assets absent entry of this Temporary

Restraining Order and that, absent entry of this Temporary Restraining Order, assets will

not be available to recover as damages pursuant to a civil suit, civil penalties, or for

restitution to victims and/or forfeiture;

       (6)    It is more likely than not, based on the information now before the Court,

that the amount traceable to Defendants’ fraudulent conspiracy is at least $28 million;

       (7)    Pursuant to Federal Rule of Civil Procedure 65(b), there is good cause for

issuing this Temporary Restraining Order without prior notice to Defendants;

       (8)    Weighing the equities and considering the United States’ likelihood of

success, this Temporary Restraining Order is in the public interest; and

       (9)    Pursuant to Federal Rule of Civil Procedure 65(c) and 18 U.S.C.

§ 1345(a)(3), no security is required of the United States for issuance of this Temporary

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Restraining Order.

        IT IS THEREFORE ORDERED that:

       (1)        Defendants; their agents, including financial and banking institutions and

other entities having possession or control of Defendants’ assets; their officers; all persons

in active concert or participating with Defendants in their affairs; and their employees are

hereby temporarily restrained and enjoined

             a.      from transferring, converting, encumbering, selling, concealing,

                     dissipating, disbursing, assigning, spending, withdrawing, or otherwise

                     disposing of any funds, property, artwork, coins, precious metals,

                     jewelry, contracts, share of stock, or other assets, wherever located, that

                     are: (a) owned or controlled by Defendants, in whole or in part; or (b) in

                     the actual or constructive possession of Defendants; or (c) owned,

                     controlled by, or in the actual or constructive possession of any entity that

                     is directly or indirectly owned, managed, controlled by, or under common

                     control with Defendants, including, but not limited to, any assets up to

                     and including $28 million held by or for Defendants in any account at any

                     bank or financial institution, or with any broker-dealer, escrow agent, title

                     company, commodity trading company, previous metal dealer, or other

                     financial institution of any kind;

             b.      from opening or causing to be opened any safe deposit boxes or storge

                     facilities titled in the name of any Defendant, or subject to access by any

                     Defendant or under their control, without providing the United States

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                     prior notice and an opportunity to inspect the contents in order to

                     determine that they contain no assets covered by this Complaint;

             c.      from conditioning their clients’ residence in Second Chances Sober

                     Living Homes or other homes for which Defendants pay rent or other

                     remuneration to a third-party on enrollment in Evergreen Recovery or

                     Ethos Recovery Clinic drug treatment programs; and

             d.      from closing any Second Chances Sober Living or affiliated residence, or

                     from evicting or seeking to evict or otherwise end the provision of

                     housing to Defendants’ clients living in Second Chances Sober Living or

                     affiliated residences based on financial or other monetary concerns,

                     without advanced notice to the United States.

       (2)        Defendants, within seven (7) business days, are required to provide the

United States a complete list of all Second Chances Sober Living or affiliated residences

and all persons living in these houses as of the date of this Order.

       (3)        Defendants, their agents, employees, attorneys, and all persons acting in

concert and participation them are further ordered to provide the following to the United

States, within seven (7) business days, a list of all financial institutions, including but not

limited to banks and brokerage houses, at which all Defendants currently maintain or have

maintained savings, checking, or other accounts in the previous four (4) years; savings,

checking, or any other kind of account or other safe deposit box into which money has been

deposited in Defendants’ names or in the names of their agents, employees, officers,

persons acting in concert with them, or any business names under which they operated,

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together with the number or other designation of each such account or box.

       (4)      Defendants are further required to fully comply with the Minnesota statutory

schemes by which their operations are governed, including but not limited to requirements

that Defendants: (a) provide the Minnesota Department of Human Services with full access

to their premises, records, employees, and clients pursuant to Minn. Stat. § 245A.04, subd.

5; (b) maintain client health and safety and protect client rights pursuant to Minn. Stat.

§ 245G.15; (c) ensure that employees are not subject to retaliation for engaging in good-

faith communications with the Minnesota Department of Human Services or law

enforcement about client rights, health, or safety pursuant to Minn. Stat. § 24513, subd.

1(1); (d) comply with all specified requirements related to client records outlined in Minn.

Stat. § 245G.09; and (e) comply with all requirements requiring treatment service and

treatment coordination and coordinate, as applicable, with probation officers, county

workers, guardians and other required persons as necessary to ensure treatment

coordination.

       (5)      To the extent Defendants intend to cease operations, they are required to (a)

follow all requirements of their service termination policies pursuant to Minn. Stat.

§ 245G.14 and (b) plan for transfer of clients and records upon closure as outlined in Minn.

Stat. § 245GA.04, section 15a, including but not limited to notifying affected clients of the

closure at least 25 days prior to closure and providing clients with information on how to

access their records.

       (6)      Between the date of the service of a Temporary Restraining Order on

Defendants and a hearing on a preliminary injunction, to be held on August 8, 2024, the

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United States and Defendants can agree to unfreeze accounts necessary for the continuing

payment of employees and continuation of treatment services until the Court considers the

appointment of a receiver pursuant to 18 U.S.C. § 1345(a)(2)(B)(ii).

      (7)    A hearing will be held on this matter on August 8, 2024, at 9:00 a.m., before

the undersigned in Courtroom 14W of the Minneapolis Federal Courthouse. At that time,

the Court will consider whether to issue a Preliminary Injunction in this matter. Once

service has been accomplished, counsel must contract the Court to propose a briefing

schedule.

      (8)    This Order shall remain in effect until 11:59 p.m. on August 8, 2024, unless

otherwise ordered by this Court.


Date: July 25, 2024                                    s/Katherine M. Menendez_____
                                                       Katherine M. Menendez
                                                       United States District Judge




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